Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 1 of 7 Page ID #:304




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

  Case No. SA CV 23-00095-DOC-KES             Date: November 2, 2023

 Title: PROTECTIVE INDUSTRIAL PRODUCTS, INC. V. BOSS INNOVATION AND
       MARKETING, INC.


 PRESENT:

                   THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                 Not Present
               Courtroom Clerk                              Court Reporter

        ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
              PLAINTIFF:                                DEFENDANT:
             None Present                                None Present



        PROCEEDINGS (IN CHAMBERS): ORDER DENYING DEFENDANT’S
                                   MOTION FOR JUDGMENT ON
                                   THE PLEADINGS [52]

        Before the Court is a Motion for Judgment on the Pleadings as to Laches
 (“Motion” or “Mot.”) (Dkt. 52) brought by Defendant Boss Innovation and Marketing,
 Inc. (“Defendant” or “BIM”). The Court finds the matter appropriate for resolution
 without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 715. Having reviewed the
 briefing submitted by the parties, the Court DENIES Defendant’s Motion.

   I.    BACKGROUND

        The following facts are taken from Plaintiffs’ Complaint (“Compl.”) (Dkt. 1). This
 case involves trademark infringement and false designation of origin arising under the
 Lanham Act, 15 U.S.C. §1051 et seq. Compl. ¶ 1. Plaintiff Protective Industrial Products,
 Inc. (“Plaintiff” or “PIP”) has been involved in the personal protective equipment
 (“PPE”) industry since its founding in 1984, supplying a variety of PPE products,
 including gloves. Id. ¶ 8. PIP purchased the Boss Glove and Safety business, including
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 2 of 7 Page ID #:305

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                            Date: November 2, 2023

                                                                                             Page 2

 the “BOSS” mark and related marks, from Boss Manufacturing Company in 2019. Id. ¶
 10. Boss Manufacturing Company is the oldest work glove company in the United States
 and has sold its gloves under its “BOSS” mark for more than a century. Id. ¶ 9. Since its
 acquisition of the Boss Glove and Safety business, PIP has maintained “BOSS”
 trademarks (the “BOSS® Marks”), including for various types of gloves to protect its
 brand. Id. ¶ 11. PIP owns the registration for the standalone “BOSS” mark (U.S. Reg. No.
 1,718,343), which covers the use of the “BOSS” mark in all colors for various types of
 gloves. Id. ¶ 16. PIP widely promotes and sells gloves under that brand in the United
 States, including through its www.bossgloves.com website. Id. ¶ 12.

        Plaintiff alleges that Defendant “has willfully infringed PIP’s BOSS® Marks and
 has caused a substantial risk of consumer confusion about the origins of its products.” Id.
 ¶ 15. Plaintiff asserts that through its family of websites, Defendant sells gloves and other
 PPE products through brands such as “BOSS,” “BOSS Safety Products,” “BOSS Tactical
 Supplies,” “BOSS Emergency Preparedness,” and “BOSS StrongBox.” Id. ¶ 17.
 According to Plaintiff, BIM is not only likely confusing customers into believing that
 BIM’s products—such as the gloves sold on its websites—are manufactured and sold by
 PIP, but also confusing customers into believing that PIP’s gloves are manufactured and
 sold by BIM. Id. ¶ 24. Plaintiff accordingly brings a trademark infringement claim under
 the Lanham Act, 15 U.S.C. §1051 et seq. See generally id.

         Plaintiff alleges BIM has known for over a decade that it is infringing PIP’s
 BOSS® Marks. Id. ¶ 33. On April 15, 2011, Boss Manufacturing Company sent a cease-
 and-desist letter to BIM’s BOSS Safety Products company arguing that BIM’s use of the
 BOSS® Marks was a “clear violation of the trademark rights” of Boss Manufacturing
 Company and that BIM’s use of the marks would “inevitably result in customer
 confusion with actual and potential customers believing that the gloves and other
 disputed products sold by [BIM] in connection with the mark BOSS SAFETY
 PRODUCTS emanate from or are associated or affiliated with Boss Manufacturing.” Id. ¶
 34.
         The April 15 letter demanded that BIM “cease and desist from any further use of
 the trademark BOSS SAFETY PRODUCTS, or any other mark which includes the word
 BOSS, in connection with the sale of gloves and safety equipment.” Id. ¶ 35. BIM
 replied to the April 15 letter in a letter dated April 21, 2011, asserting that the marks it
 used were “distinct and dissimilar,” namely because its mark used all uppercase letters
 and different colors than PIP’s BOSS® Marks and incorporated a globe design. Id. ¶ 36.
 Defendant further asserted there was no evidence of customer confusion and that Plaintiff
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 3 of 7 Page ID #:306

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                                 Date: November 2, 2023

                                                                                                    Page 3

 and Defendant had a dissimilar client base and marketing channels from Plaintiff. Id. ¶
 37. Boss Manufacturing Company replied to BIM’s April 21 letter in a letter dated
 September 15, 2011, noting that BIM had promptly filed several trademark applications
 after receiving the April 15 letter, including one on August 4, 2011 for the “BOSS
 SAFETY PRODUCTS” mark in connection with gloves. Id. ¶ 37. BIM did not change its
 websites or product advertising. Id. ¶ 39.

         Eleven years later, after PIP acquired the BOSS Glove and Safety business, PIP
 sent another cease-and-desist letter to Mike Curtis, owner of BIM, on August 31, 2022,
 stating that BIM’s “use of PIP’s BOSS® trademark in connection with directly
 competing and related goods represents a clear and undeniable infringement of our
 client’s trademark rights.” Id. ¶ 40. On October 18, 2022, BIM replied, asserting that it
 was “simply an online retailer of a wide range of personal safety equipment and safety
 storage devices manufactured by industry leaders,” and that any gloves sold on its
 website “are not being sold as any private label brand of [BIM], but rather are third-party
 products bearing their own respective trademarks which are simply being resold through
 the www.bosssafety.com website.” Id. ¶ 41.

        Plaintiff now brings claims for trademark infringement under 15 U.S.C. §1114 and
 false designation of origin under 15 U.S.C. §1125(a).

        On January 13, 2023, Plaintiff filed its complaint in this Court. Defendant filed the
 present Motion to Dismiss on September 25, 2023. Plaintiff opposed the motion
 (“Opp’n”) on October 2, 2023 (Dkt. 53). Defendant replied (“Reply”) on October 9, 2023
 (Dkt. 54).

   II.    LEGAL STANDARD

        Rule 12(c) provides that the Court may grant judgment on the pleadings after the
 pleadings are closed. Fed. R. Civ. P. 12(c). “[P]leadings are closed for the purposes of
 Rule 12(c) once a complaint and answer have been filed, assuming as is the case here,
 that no counterclaim or cross-claim is made.” Doe v. United States, 419 F.3d 1058, 1061
 (9th Cir. 2005). Motions for judgment on the pleadings are governed by the same
 standard as a motion to dismiss for failure to state a claim under Rule 12(b)(6).

       Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be dismissed
 when a plaintiff’s allegations fail to set forth a set of facts that, if true, would entitle the
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 4 of 7 Page ID #:307

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                             Date: November 2, 2023

                                                                                              Page 4

 complainant to relief. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); Bell Atl. Corp. v.
 Twombly, 550 U.S. 544, 555 (2007) (holding that a claim must be facially plausible in
 order to survive a motion to dismiss). The pleadings must raise the right to relief beyond
 the speculative level; a plaintiff must provide “more than labels and conclusions, and a
 formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S.
 at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). On a motion to dismiss, a
 court accepts as true a plaintiff’s well-pleaded factual allegations and construes all factual
 inferences in the light most favorable to the plaintiff. See Manzarek v. St. Paul Fire &
 Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). A court is not required to accept as
 true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678.

         In evaluating a Rule 12(b)(6) motion, review is ordinarily limited to the contents
 of the complaint and material properly submitted with the complaint. Van Buskirk v.
 Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v.
 Richard Feiner & Co., Inc., 896 F.2d 1542, 1555, n.19 (9th Cir. 1990). Under the
 incorporation by reference doctrine, the court may also consider documents “whose
 contents are alleged in a complaint and whose authenticity no party questions, but which
 are not physically attached to the pleading.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.
 1994), overruled on other grounds by Galbraith v. County of Santa Clara, 307 F.3d
 1119, 1121 (9th Cir. 2002). The court may treat such a document as “part of the
 complaint, and thus may assume that its contents are true for purposes of a motion to
 dismiss under Rule 12(b)(6).” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

        When a motion to dismiss is granted, the court must decide whether to grant leave
 to amend. The Ninth Circuit has a liberal policy favoring amendments, and thus leave to
 amend should be freely granted. See, e.g., DeSoto v. Yellow Freight Sys., Inc., 957 F.2d
 655, 658 (9th Cir. 1992). However, a court need not grant leave to amend when
 permitting a plaintiff to amend would be an exercise in futility. See, e.g., Rutman Wine
 Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987) (“Denial of leave to
 amend is not an abuse of discretion where the pleadings before the court demonstrate that
 further amendment would be futile.”).
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 5 of 7 Page ID #:308

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                              Date: November 2, 2023

                                                                                                   Page 5

   III.   DISCUSSION

        Defendant moves for judgment on the pleadings under 12(c) as barred by the
 doctrine of Laches. Mot. at 8.

         Laches is an equitable time limit on a party’s right to bring suit and bars a claim
 upon a showing of (1) unreasonable delay by plaintiff in bringing suit, and (2) prejudice.
 Miller v. Glenn Miller Prods., Inc., 454 F.3d 975, 997 (9th Cir. 2006). “This defense
 embodies the principle that a plaintiff cannot sit on the knowledge that another company
 is using its trademark, and then later come forward and seek to enforce its rights.”
 Internet Specialties W., Inc. v. Milon-DiGiorgio Enters., Inc., 559 F.3d 985, 989 (9th Cir.
 2009). The Ninth Circuit has reaffirmed the viability of laches as a bar against claims of
 trademark infringement where the plaintiff has exercised a lack of diligence in bringing
 suit. See Pinkett Clothing, Inc. v. Cosmetic Warriors Ltd., 894 F.3d 1015 (9th Cir. 2018).

        Laches, an equitable defense, may be decided on the pleadings when apparent
 from the face of the complaint. See Scott v. Kuhlmann, 746 F.2d at 1378; see also Starz
 Entertainment, LLC v. MGM Domestic Television Distribution, LLC, 510 F. Supp. 3d
 878 (C.D. Cal. 2021); Reveal Chat Holdco, LLC v. Facebook, Inc., 471 F. Supp. 3d 981,
 990-92 (N.D. Cal. 2020).

         Defendant asserts that Plaintiff’s claims are barred by laches because Plaintiff’s
 predecessor-in-interest had affirmative knowledge of Defendant’s activities more than
 twelve years ago and took no action for more than eleven years between the sending of
 the follow-up Cease and Desist Letter in August of 2011, and the sending of the new
 Cease and Desist Letter in October of 2022. Mot. at 11.

         Plaintiff responds that laches does not apply to cases of willful infringement.
 Opp’n at 1. PIP argues it has alleged that BIM willfully infringed its trademarks and
 willfully falsified the designation of origin of its products. Id. at 6; Compl. ¶ 42. Plaintiff
 relies primarily on the Ninth Circuit’s decision in DC Comics v. Towle, where the Circuit
 noted the doctrine of laches “does not apply, however, in cases of willful infringement.”
 802 F.3d 1012, 1026 (9th Cir. 2015); Opp’n at 8. Defendant argues Plaintiff’s pleading
 merely describes their conduct as “willful,” and that an allegation of willfulness with no
 further support is insufficient to trigger the D.C. Comics rule. Mot. at 13-18.
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 6 of 7 Page ID #:309

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                            Date: November 2, 2023

                                                                                              Page 6

        The Court disagrees with Defendant’s characterization of the allegations in the
 Complaint. Plaintiff points to the original cease-and-desist letter, and Defendant’s
 continued use of the mark after receiving the letter, as evidence of willfulness. Opp’n at
 10. Numerous courts in the Ninth Circuit have found that a defendant’s decision to
 continue infringing after receipt of a cease-and-desist letter can lead to an inference or
 finding of willful infringement. See, e.g., E. & J. Gallo Winery v. Consorzio del Gallo
 Nero, 782 F. Supp. 472, 475 (N.D. Cal. 1992) (“Use of an infringing mark, in the face of
 warnings about potential infringement, is strong evidence of willful infringement.”).
 Plaintiff’s assertions therefore rise beyond the level of conclusory descriptions of
 willfulness.

         Moreover, courts in the Ninth Circuit routinely deny summary judgment motions
 on laches and willful infringement on the grounds that the issues frequently involve
 genuine disputes of material fact. See, e.g., San Miguel Pure Foods Co., Inc. v. Ramar
 Int’l Corp., No. 11-cv-09747, 2012 WL 13227045, at *8 (C.D. Cal. Nov. 27, 2012)
 (“declin[ing] to resolve” laches on summary judgment because there were “sufficient
 factual issues regarding willful infringement that deciding the defense of laches at this
 time would be premature”). Applying laches in a judgment on the pleadings would be
 inappropriate when Plaintiff has plausibly alleged that Defendant has willfully infringed
 their trademark and has had no opportunity to conduct discovery to support its
 allegations.

        Defendant argues in the alternative that the equitable doctrine of acquiescence or
 estoppel also bars Plaintiff’s claims. The equitable defense of acquiescence prevents a
 party from bringing suit following an affirmative act that implied the party granted
 consent to the alleged infringer to use the mark. Eat Right Foods Ltd. v. Whole Foods
 Mkt., Inc., 880 F.3d 1109 (9th Cir. 2018). This doctrine is “distinct from laches because it
 requires an affirmative representation by the plaintiff that it will not assert a claim.” Id.
 To establish an acquiescence defense, a defendant must show: “(1) the senior user
 actively represented that it would not assert a right or a claim; (2) the delay between the
 active representation and assertion of the right or claim was not excusable; and (3) the
 delay caused the defendant undue prejudice.” Seller Agency Council, Inc. v. Kennedy Ctr.
 for Real Estate Educ., Inc., 621 F.3d 981, 989 (9th Cir. 2010)) (quoting ProFitness
 Physical Therapy Ctr v. Pro-Fit Orthopedic & Sports Physical Therapy P.C., 314 F.3d
 62, 67 (2d Cir. 2002)).
Case 8:23-cv-00095-DOC-KES Document 60 Filed 11/02/23 Page 7 of 7 Page ID #:310

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00095-DOC-KES                                               Date: November 2, 2023

                                                                                                   Page 7

        The Court agrees with Plaintiff that this defense also fails because “BIM fails to
 identify any affirmative representation by PIP or BMC that they would refrain from
 asserting any infringement claim against BIM.” Opp’n at 18. Defendant argues that
 Plaintiff impliedly consented to Defendant’s use of its “Globe O” logo for the twelve
 years following the initial cease-and-desist letter. Mot. at 19. “Failing to object to a junior
 user’s conduct is not the equivalent of an active assurance that a senior user will not bring
 a claim.” Seller Agency Council, Inc. v. Kennedy Ctr. for Real Est. Educ., Inc., No. 06-
 cv-679, 2011 WL 1211477, at *6 (C.D. Cal. Mar. 30, 2011). Further, courts in the Ninth
 Circuit have recognized that sending a cease-and-desist letter can be evidence of non-
 acquiescence. See, e.g., Dolin v. Facebook, Inc., No. 18-cv-0950, 2018 WL 2047766, at
 *7 (N.D. Cal. May 2, 2018) (a cease-and-desist letter is evidence the mark owner has not
 acquiesced to that use). Thus, the Court finds no affirmative representation by PIP
 implying they would not assert a trademark infringement claim, and so finds the defense
 of acquiescence inapplicable.

         The Court therefore DENIES Defendant’s Motion for Judgment on the Pleadings.

   IV.    DISPOSITION

      For the reasons explained above, the Court DENIES Defendant’s Motion for
 Judgment on the Pleadings. The hearing currently scheduled for November 6, 2023 is
 VACATED.

         The Clerk shall serve this minute order on the parties.

                                                                   Initials of Deputy Clerk: kdu
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